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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit 6
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                                                                          Page 1

 1                          UNITED STATES DISTRICT COURT
 2                          DISTRICT OF SOUTH CAROLINA
 3                               COLUMBIA DIVISION
 4
        _________________________________________________
 5      THE SOUTH CAROLINA STATE CONFERENCE OF
        THE NAACP, et al.,
 6
                          Plaintiffs,
 7                                       CASE NO.
                    vs.                  3:21-CV-03302-MBS-TJH-RMG
 8
 9      THOMAS C. ALEXANDER, et al.,
10                        Defendants.
        _________________________________________________
11
12
13      VIDEO TELECONFERENCE
14      DEPOSITION OF:           REPRESENTATIVE THOMAS HAUGER
15      DATE:                    June 28, 2022
16      TIME:                    9:40 a.m.
17      LOCATION:                Virtual - Zoom
18
        TAKEN BY:                Counsel for the Plaintiffs
19
        REPORTED BY:             Roxanne Easterwood, RPR
20
21
22
23
24
25

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                                                                       Page 37

 1      same racial identity.
 2                  Q.   Do you have any understanding why that
 3      might be?
 4                  A.   In general, I think it's a comfort
 5      level.       People -- in basic terms of geography,
 6      things that are more alike tend to cluster
 7      together, where things that are different tend to
 8      be a little more further apart.
 9                  Q.   Any understanding on why there might
10      be racial group clustering in South Carolina?
11                  A.   Well, we've got people of many
12      different races here.              So, I mean, there's going
13      to be some clustering in general, and not just
14      around ethnic racial lines, but ethnic lines as
15      well.
16                  Q.   Do you have any understanding of any
17      historical reasons why that might be in South
18      Carolina for racial group clustering?
19                  A.   Yes.      I've read history books.                Even
20      though I didn't grow up in South Carolina, I've
21      read some of the history books of South Carolina,
22      and I know about some of the injustices of the
23      past and things such as that within the state.
24                  Q.   What are some of those that you're
25      thinking of?

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                                                                    Page 38

 1                  A.   Thinking about things such as slave
 2      trade, things such as that, and then also reading
 3      about Benjamin Tillman and some of the -- you
 4      know, he was kind of the 19th century version of
 5      Donald Trump here in South Carolina, so.                    So
 6      reading just history, yeah.
 7                  Q.   Did any of that history inform any of
 8      the work around Congressional redistricting?
 9                  A.   Absolutely not.
10                  Q.   Did you think it should?
11                  A.   I think it would be good to take that
12      into consideration, just some racial -- you know,
13      racial conditions.         I think that is something that
14      is actually good to take into consideration.
15                  Q.   Why is that?
16                  A.   So people can be represented properly.
17                  Q.   Do you have any concerns if that's not
18      taken into account that people might not be
19      represented equally?
20                  A.   I think that could potentially happen.
21      We've talked about cracking or packing.                    I think
22      both of those are -- can be legitimately done, and
23      those are not a good thing.
24                  Q.   I know last time we talked about your
25      work in 2010 in South Carolina.                    Do you recall or

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                                                                      Page 86

 1      make sure people are being represented as they
 2      wish and as they need to be.
 3                  Q.   Did you at all suggest to do a
 4      district-by-district analysis at any point to the
 5      ad hoc committee?
 6                  A.   No.
 7                  Q.   Were you aware of any request for
 8      discussions to do so?
 9                  A.   No.
10                  Q.   I think we have answered this before,
11      and maybe this -- the easier way is to ask it now.
12      Was there any, to your knowledge, RPV analysis at
13      all conducted for any map that you worked on
14      during the Congressional redistricting cycle?
15                  A.   To my knowledge, no.
16                  Q.   Were there any discussions about this
17      proposal about increasing, decreasing, or
18      maintaining the black voting age population in
19      certain districts?
20                  A.   To my knowledge, no.
21                  Q.   Any discussions about how districts
22      would perform for black-preferred candidates?
23                  A.   To my knowledge, no.
24                  Q.   How would you describe the role that
25      race played in the development of this initial

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